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 6

 7                              UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
 8                                   WESTERN DIVISION
 9
      BOBBY ETRI, individually and on             Case No.
10    behalf of all others similarly situated,
                                                  CLASS ACTION
11                Plaintiff,
                                                  COMPLAINT FOR VIOLATIONS
12    vs.                                         OF THE TELEPHONE
                                                  CONSUMER PROTECTION
13    AVIATOR NATION, INC.,                       ACT, 47 U.S.C. §§ 227, ET SEQ.
                                                  (TCPA)
14                Defendant.
15                                                JURY TRIAL DEMANDED
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                                      CLASS ACTION COMPLAINT
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 1                               CLASS ACTION COMPLAINT
 2           1.     Plaintiff Bobby Etri, brings this action against Defendant, Aviator Nation,
 3    Inc., to secure redress for violations of the Telephone Consumer Protection Act
 4    (“TCPA”), 47 U.S.C. § 227.
 5                                  NATURE OF THE ACTION
 6           2.     This is a putative class action pursuant to the Telephone Consumer
 7    Protection Act, 47 U.S.C. §§ 227, et seq. (the “TCPA”).
 8           3.     Defendant is a retailer that sells clothin, apparel, and accessories online
 9    and in store locations across the nation. To promote its services, Defendant engages in
10    aggressive unsolicited marketing, harming thousands of consumers in the process.
11           4.     Through this action, Plaintiff seeks injunctive relief to halt Defendant’s
12    illegal conduct, which has resulted in the invasion of privacy, harassment, aggravation,
13    and disruption of the daily life of thousands of individuals. Plaintiff also seeks statutory
14    damages on behalf of himself and members of the Class, and any other available legal
15    or equitable remedies.
16                               JURISDICTION AND VENUE
17           5.     This Court has federal question subject matter jurisdiction over this action
18    pursuant to 28 U.S.C. § 1331, as the action arises under the Telephone Consumer
19    Protection Act, 47 U.S.C. §§ 227, et seq. (“TCPA”).
20           6.     The Court has personal jurisdiction over Defendant and venue is proper
21    in this District because Defendant’s principal address is located in this district,
22    Defendant directs, markets, and provides its business activities to this District, and
23    because Defendant’s unauthorized marketing scheme was directed by Defendant to
24    consumers in this District.
25                                            PARTIES
26           7.     Plaintiff is a natural person who, at all times relevant to this action, was a
27    resident Miami-Dade County, Florida.
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                                    CLASS ACTION COMPLAINT
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 1           8.     Defendant is a California corporation whose principal office is located at
 2    6363 Regen Street, Huntington Park, CA 90255. Defendant directs, markets, and
 3    provides its business activities throughout the United States, including throughout the
 4    state of California.
 5           9.     Unless otherwise indicated, the use of Defendant’s name in this
 6    Complaint includes all agents, employees, officers, members, directors, heirs,
 7    successors, assigns, principals, trustees, sureties, subrogees, representatives, vendors,
 8    and insurers of Defendant.
 9                                 FACTUAL ALLEGATIONS
10           10.    Over the past year, Defendant began sending telemarketing text messages
11    to Plaintiff’s cellular telephone number ending in 4449 (the “4449 Number”):
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                                   CLASS ACTION COMPLAINT
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 1          11.    Defendant’s text messages did not include instructions on how to opt-out.
 2          12.    On May 31, 2022, Plaintiff responded to Defendant with “…please no
 3    more texts” in an attempt to opt-out of any further text message communications with
 4    Defendant.
 5          13.    Despite Plaintiff’s use of clear opt-out language, Defendant ignored
 6    Plaintiff’s opt-out demand and sent Plaintiff dozens more telemarketing text message
 7    up through November 2022 including but not limited to the below:
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                                 CLASS ACTION COMPLAINT
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21           14.    Upon advice from counsel, Plaintiff texted only the word “Stop” to
22    Defendant.
23           15.    Defendant’s text messages were transmitted to Plaintiff’s cellular
24    telephone, and within the time frame relevant to this action.
25           16.    Defendant’s text messages constitute telemarketing because they
26    encouraged the future purchase or investment in property, goods, or services, i.e.,
27    selling Plaintiff clothing and apparel.
28                                            5
                                   CLASS ACTION COMPLAINT
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 1           17.    The information contained in the text message advertises Defendant’s
 2    various discounts and promotions, which Defendant sends to promote its business.
 3           18.    Defendant sent or caused to be sent the subject texts within this judicial
 4    district and, therefore, Defendant’s violation of the TCPA occurred within this district.
 5    Upon information and belief, Defendant caused other text messages to be sent to
 6    individuals residing within this judicial district.
 7           19.    Defendant’s texts were not made for an emergency purpose nor to collect
 8    on a debt pursuant to 47 U.S.C. § 227(b)(1)(B).
 9           20.    To the extent that Defendant had any consent to contact Plaintiff, that
10    consent was expressly revoked when Plaintiff responded “…please no more texts” on
11    May 31, 2022.
12           21.    The facts alleged suggest that Defendant does not have a written policy
13    for maintaining an internal do not call list pursuant to 47 U.S.C. § 64.1200(d)(1).
14           22.    The facts alleged suggest that Defendant does not inform and train its
15    personnel engaged in telemarketing in the existence and the use of any internal do not
16    call list pursuant to 47 U.S.C. 64.1200(d)(2).
17           23.    Plaintiff is the subscriber and sole user of the 4449 Number and is
18    financially responsible for phone service to the 4449 Number.
19           24.    The text messages originated from telephone numbers 42916 and
20    8449872603, both numbers which upon information and belief are owned and operated
21    by or on behalf of Defendant.
22           25.    Defendant’s unsolicited text messages caused Plaintiff actual harm,
23    including invasion of his privacy, aggravation, annoyance, intrusion on seclusion,
24    trespass, and conversion. Defendant’s text messages also inconvenienced Plaintiff and
25    caused disruption to his daily life.
26           26.    Defendant’s unsolicited text messages caused Plaintiff actual harm.
27    Specifically, Plaintiff estimates that he has wasted fifteen to thirty seconds reviewing
28                                             6
                                    CLASS ACTION COMPLAINT
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 1    each of Defendant’s unwanted messages. Each time, Plaintiff had to stop what he was
 2    doing to either retrieve his phone and/or look down at the phone to review the
 3    message.
 4           27.       Next, Plaintiff wasted approximately fifteen minutes locating and
 5    retaining counsel for this case in order to stop Defendant’s unwanted calls.
 6           28.       In all, Defendant’s violations of the TCPA caused Plaintiff to waste at
 7    least fifteen minutes of his time in addressing and attempting to stop Defendant’s
 8    solicitations.
 9                                      CLASS ALLEGATIONS
10           PROPOSED CLASS
11           29.       Plaintiff brings this case as a class action pursuant to Fed. R. Civ. P. 23,
12    on behalf of himself and all others similarly situated.
13           30.       Plaintiff brings this case on behalf of the Class defined as follows:
14                     All persons within the United States who, within the
                       four years prior to the filing of this Complaint, were
15                     sent a text message from Defendant or anyone on
                       Defendant’s behalf, to said person’s cellular
16                     telephone number after making a request to
                       Defendant to not receive future text messages.
17

18           31.       Defendant and its employees or agents are excluded from the Class.
19    Plaintiff does not know the number of members in the Class but believes the Class
20    members number in the several thousands, if not more.
21           NUMEROSITY
22           32.       Upon information and belief, Defendant has placed violative calls to
23    cellular telephone numbers belonging to thousands of consumers throughout the
24    United States after they have revoked consent to be contacted. The members of the
25    Class, therefore, are believed to be so numerous that joinder of all members is
26    impracticable.
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                                      CLASS ACTION COMPLAINT
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 1           33.   The exact number and identities of the members of the Class are unknown
 2    at this time and can only be ascertained through discovery. Identification of the Class
 3    members is a matter capable of ministerial determination from Defendant’s call records.
 4           COMMON QUESTIONS OF LAW AND FACT
 5           34.   There are numerous questions of law and fact common to members of
 6    the Class which predominate over any questions affecting only individual members of
 7    the Class. Among the questions of law and fact common to the members of the Class
 8    are:
 9                 a) Whether Defendant violated 47 C.F.R. § 1200(d).
10                 b) Whether Defendant adhered to requests by Class members to stop
11                     sending text messages to their telephone numbers;
12                 c) Whether Defendant keeps records of text recipients who revoked
13                     consent to receive texts;
14                 d) Whether Defendant has any written policies for maintaining an
15                     internal do not call list;
16                 e) Whether Defendant cross-references opt-out requests between their
17                     multiple telephone numbers.
18                 f) Whether Defendant’s conduct was knowing and willful;
19                 g) Whether Defendant is liable for damages, and the amount of such
20                     damages; and
21                 h) Whether Defendant should be enjoined from such conduct in the
22                     future.
23           35.   The common questions in this case are capable of having common
24    answers. If Plaintiff’s claim that Defendant routinely transmits text messages to
25    telephone numbers assigned to cellular telephone services is accurate, Plaintiff and the
26    Class members will have identical claims capable of being efficiently adjudicated and
27    administered in this case.
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                                   CLASS ACTION COMPLAINT
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 1             TYPICALITY
 2             36.   Plaintiff’s claims are typical of the claims of the Class members, as they
 3    are all based on the same factual and legal theories.
 4             PROTECTING THE INTERESTS OF THE CLASS MEMBERS
 5             37.   Plaintiff is a representative who will fully and adequately assert and protect
 6    the interests of the Class, and has retained competent counsel. Accordingly, Plaintiff is
 7    an adequate representative and will fairly and adequately protect the interests of the
 8    Class.
 9             PROCEEDING VIA CLASS ACTION IS SUPERIOR AND ADVISABLE
10             38.   A class action is superior to all other available methods for the fair and
11    efficient adjudication of this lawsuit, because individual litigation of the claims of all
12    members of the Class is economically unfeasible and procedurally impracticable. While
13    the aggregate damages sustained by the Class are in the millions of dollars, the individual
14    damages incurred by each member of the Class resulting from Defendant’s wrongful
15    conduct are too small to warrant the expense of individual lawsuits. The likelihood of
16    individual Class members prosecuting their own separate claims is remote, and, even if
17    every member of the Class could afford individual litigation, the court system would be
18    unduly burdened by individual litigation of such cases.
19             39.   The prosecution of separate actions by members of the Class would create
20    a risk of establishing inconsistent rulings and/or incompatible standards of conduct for
21    Defendant. For example, one court might enjoin Defendant from performing the
22    challenged acts, whereas another may not. Additionally, individual actions may be
23    dispositive of the interests of the Class, although certain class members are not parties
24    to such actions.
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                                    CLASS ACTION COMPLAINT
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 1                                          COUNT I
                          Violations of the TCPA, 47 U.S.C. § 227(c)(2)
 2                            (On Behalf of Plaintiff and the Class)
 3         40.       Plaintiff re-alleges and incorporates the foregoing allegations as if fully set
 4   forth herein.
 5         41.       The TCPA provides that any “person who has received more than one
 6   telephone call within any 12-month period by or on behalf of the same entity in
 7   violation of the regulations prescribed under this subsection may” bring a private action
 8   based on a violation of said regulations, which were promulgated to protect telephone
 9   subscribers’ privacy rights to avoid receiving telephone solicitations to which they
10   object. 47 U.S.C. § 227(c)(5).
11         42.       Under 47 C.F.R. § 64.1200(d), “[n]o person or entity shall initiate any call
12   for telemarketing purposes to a residential telephone subscriber unless such person or
13   entity has instituted procedures for maintaining a list of persons who request not to
14   receive telemarketing calls made by or on behalf of that person or entity. The
15   procedures instituted must meet certain minimum standards, including:
16
           “(3) Recording, disclosure of do-not-call requests. If a person or entity
17
           making a call for telemarketing purposes (or on whose behalf such a call
18         is made) receives a request from a residential telephone subscriber not to
           receive calls from that person or entity, the person or entity must record
19
           the request and place the subscriber’s name, if provided, and telephone
20         number on the do-not call list at the time the request is made. Persons or
           entities making calls for telemarketing purposes (or on whose behalf such
21
           calls are made) must honor a residential subscriber’s do-not-call request
22         within a reasonable time from the date such request is made. This period
           may not exceed thirty days from the date of such request . . . .
23
           (6) Maintenance of do-not-call lists. A person or entity making calls for
24         telemarketing purposes must maintain a record of a consumer’s request not to
           receive further telemarketing calls. A do-not-call request must be honored for 5
25         years from the time the request is made.”
26
           47 C.F.R. § 64.1200(d)(3), (6)
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                                    CLASS ACTION COMPLAINT
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 1         43.     Under 47 C.F.R § 64.1200(e) the rules set forth in 47 C.F.R. § 64.1200(d)
 2   are applicable to any person or entity making telephone solicitations or telemarketing
 3   calls to wires telephone numbers.
 4
           “(e) The rules set forth in paragraph (c) and (d) of this section are applicable to
 5
           any person or entity making telephone solicitations or telemarketing calls to
 6         wireless telephone numbers to the extent described in the Commission's Report
           and Order, CG Docket No. 02-278, FCC 03-153, “Rules and Regulations
 7
           Implementing the Telephone Consumer Protection Act of 1991.”
 8
           47 C.F.R. § 64.1200(e)
 9
           44.     Plaintiff and Class members made requests to Defendant not to receive
10
     calls from Defendant.
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           45.     Defendant failed to honor Plaintiff and Class members’ requests.
12
           46.     Upon information and belief, Defendant has not instituted procedures for
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     maintaining a list of persons who request not to receive telemarketing calls made by or
14
     on behalf of their behalf, pursuant to 47 C.F.R. § 64.1200(d).
15
           47.     Because Plaintiff and members received more than one text message in a
16
     12-month period made by or on behalf of Defendant in violation of 47 C.F.R. §
17
     64.1200(d), as described above, Defendant violated 47 U.S.C. § 227(c)(5).
18
           48.     As a result of Defendant’s violations of 47 U.S.C. § 227(c)(5), Plaintiff and
19
     Class members are entitled to an award of $500.00 in statutory damages, for each and
20
     every negligent violation, pursuant to 47 U.S.C. § 227(c)(5).
21
           49.     As a result of Defendant’s violations of 47 U.S.C. § 227(c)(5), Plaintiff and
22
     Class members are entitled to an award of $1,500.00 in statutory damages, for each and
23
     every knowing and/or willful violation, pursuant to 47 U.S.C. § 227(c)(5).
24
           50.     Plaintiff and Class members also suffered damages in the form of invasion
25
     of privacy.
26

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                                  CLASS ACTION COMPLAINT
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 1          51.      Plaintiff and class members are also entitled to and seek injunctive relief
 2   prohibiting Defendant’s illegal conduct in the future, pursuant to 47 U.S.C. § 227(c)(5).
 3                                    PRAYER FOR RELIEF
 4          WHEREFORE, Plaintiff, individually and on behalf of the Class, prays for the
 5   following relief:
 6                a) An Order declaring that Defendant’s actions, set out above, violate the
 7                   TCPA.
 8                b) An order certifying this case as a class action on behalf of the Class as
 9                   defined above, and appointing Plaintiff as the representative of the Class
10                   and Plaintiff’s counsel as Class Counsel;
11                c) An award of actual and statutory damages for Plaintiff and each member
12                   of the Class;
13                d) An injunction requiring Defendant to cease all unsolicited text messaging
14                   activity, and to otherwise protect the interests of the Class;
15                e) An award of reasonable attorneys’ fees and costs pursuant to, inter alia,
16                   California Code of Civil Procedure § 1021.5; and
17                f) Such further and other relief as the Court deems necessary.
18                                        JURY DEMAND
19           Plaintiff hereby demands a trial by jury.
20
                          DOCUMENT PRESERVATION DEMAND
21

22          Plaintiff demands that Defendant take affirmative steps to preserve all records,
23   lists, electronic databases or other itemizations associated with the allegations herein,
24   including all records, lists, electronic databases or other itemizations in the possession
25   of any vendors, individuals, and/or companies contracted, hired, or directed by
26   Defendant to assist in sending the alleged communications.
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                                     CLASS ACTION COMPLAINT
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 1   Dated: November 28, 2022            Respectfully submitted,
 2

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                                CLASS ACTION COMPLAINT
